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NOT FOR PUBLICATION

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

TRYG INSURANCE, et al.,

Plaintiffs,
Civil Action No. 15-5343 (MAS) (TJB)
v.
OPINION AND FINAL JUDGMENT
C.H. ROBINSON WORLDWIDE, INC.,
et al.,

Defendants.

 

 

SHIPPl District Judge

This matter comes before the Court on a Carrnack Amendment claim by Plaintiffs Tryg
Insurance (“Tryg”) and Toms Confectionery Group (“Toms”) (collectively, “Plaintiffs”) against
Defendants C.H. Robinson Worldwide, Inc. (“CHRW” or “Defendant”) and National Refrigerated
Trucking, LLC (“l\IR`l"’)l for damage that occurred to Toms’s cargo during interstate transport.
(Compl., ECF No. 1.) The Court conducted a one-day bench trial on May 4, 2017r to address
liability. (ECF No. 40.) The parties submitted proposed findings of fact and conclusions of law
on June 22, 2017. (ECF Nos. 45, 47.) The Court now enters final judgment on the merits After
careful consideration of the entire record in this matter, and the applicable law, the Court concludes
that Cl-IRW is a “carrier” under the Carmack Amendment, 49 U.S.C. § 14706, based on the specific

facts of this case and, therefore, is liable for the stipulated damages amount

 

l NRT did not appear in this Action. Plaintiffs filed a separate Motion for Default Judgment against
NRT. (ECF No. 44.) This decision, therefore, addresses liability only as to CHRW.

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I. Jurisdiction

This action involves interstate transportation of goods by a motor carrier. The Court has
original jurisdiction over this matter pursuant to 28 U.S.C. § 1331, 28 U.S.C. § 1337(a), and 49
U.S.C. § 14706 (the “Carmack Amendment”). Venue of this action appropriately lies in the
District of NeW J ersey pursuant to 49 U.S.C. § l4706(d). The parties do not dispute subject matter
jurisdiction or Venue.

II. Procedural History

On July 9, 2015, Plaintiffs filed a Complaint against Defendants, alleging that CHRW is
liable for damage to Toms’s cargo that occurred during interstate transport (Compl. 1111 24-26.)
On July 27, 2015, CHRW filed an Answer and Cross-Claims against NRT. (Answer, ECF No.
6; Final Pretrial Order Stipulation of F acts (“Stipulation of Facts”) 1[ 51, ECF No. 3)0.)2 NRT failed
to appear. (]d. 11 53.)

The parties agree that liability against CI-IRW is dependent on Whether CHRW is a
“broker” or a “carrier” for purposes of the Carmack Amendment. If CHRW is a “broker” then it
is not liable for the damage that occurred during transport by NRT. If, however, CHRW is a
“carrier” then liability attaches to CHRW.

On April 14, 2016, CHRW moved for summary judgment arguing that as a matter of law,
CHRW is a “broker” under the Carmack Amendment. (Def.’s Br. in Supp. of Mot. for Surnrn. J.,
ECF No. 15-2.) On November 21, 2016, the Court denied Def`endant’s motion, finding that the
inquiry into Whether CHRW is a “carrier” or “brol<er” is inherently fact intensive (Nov. 21, 2016

Op. Tr. 221 14-21, ECF No. 27 (citing Nz`pponkoa Ins. Co. v. C.H. Robt'nson Worldwz'de, Inc., 2011

 

2 The parties submitted stipulated facts in the Final Pretrial Order. (ECF No. 30.) Plaintiffs’s
stipulated facts are numbered 1111 1-50. Defendant’s stipulated facts restart at 11 l. The Court
renumbers the facts to be consecutive, so that Defendant’s stipulated fact 11 l is referred to as 11 51.

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WL 671747 (S.D.N.Y. Feb. 18, 201 1) (denying summary judgment because, infer alia, the inquiry
into whether entity is “broker” is not suitable for summary judgment)); see also AIG Earope
(Nefher[ands), N. V. v. UPS Supply Chaz`n Sols., Inc., 765 F. Supp. 2d 472, 482-85 (S.D.N.Y. 2011)
(same).

On May 4, 2017, the Court held a bench trial as to the issue of liability.3 (ECF No. 40; May
4, 2017 Trial Tr. (“Trial Tr.”), ECF No. 43.) The parties presented two live witnesses during the
one-day trial: (l) Michael Bastholm,4 Customer Service Representative for Toms, and (2)
Christopher McLoughlin, Risk Manager for the North American Surf`ace Transportation Division
for CHRW. (See generally Trial Tr.) The parties also entered into evidence the deposition
testimony of Janet Hays (“Hays”), an Account Coordinator for CHRW, in lieu of reading the
transcript onto the record. (See Tlial Tr. 81:1-25, ECF No. 43; Trial Ex. G (Deposition Transcript

of Janet Hays) (hereinafter “Hays Dep. Tr.”).)

III. Findings of Fact5

A. The Parties
l. Toms is a Danish chocolate manufacturer located at Toms Alle l, DK-2750

Ballerup, Denmark. (Stipulation of Facts 11 1.)
2. Toms was at all relevant times the owner of a shipment of miniature chocolate

liquor bottles (“the Cargo”). (Stipulation of F acts 11 2.)

 

3 The parties stipulated that Plaintiffs’s damages are $124,034.31. The one-day bench trial
addressed only liability under the Cannack Amendment. (1-`inal Pretn'al Order 20-21, ECF No.
30.)

4 Bastholm’s trial testimony Was provided through a court-qualified translator, Mette Deleuran.
(Trial Tr. 14:24~15:6.)

5 ln evaluating the testimony of the witnesses appearing at trial, and aHer the Court had the
opportunity to hear their testimony and observe their demeanor, the Court undertook an

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3. Tryg is a Danish company located at Klausdalsbrovej 601, 2750 Ballerup,
Denmark. (Stipulation of Facts 11 3.)

4. Tryg insured the Cargo against loss and damage (Stipulation of F acts 11 4.)

5. CHRW is a Delaware corporation with an office for the transaction of business at
14701 Charlson Road, Eden Prairie, l\/Iinnesota, 55347. (Stipulation of Facts 11 5.)

6. NRT is a New Jersey company With an office for the transaction of business at 4000
Bordentown Avenue, Suite 45, Sayreville, New Jersey, 088'/'2.6 (Stipulation of Facts 11 6.)

B. CHRW’s Act\_lal Business Operations

7. At all relevant times, CHRW possessed a broker’s license, Which allowed it to
arrange for the transportation of property. (Stipulation of Facts 11 59; Trial Tr. 55:1-56:25.)

8. CHRW did not, at any relevant time, possess a motor carrier license. (Hays Dep.
Tr. 57:7-9; Trial Tr. 57:2-3.)

9. CHRW does not own any trucks or equipment to transport, pick up, or receive cargo
(l-Iays Dep. Tr. 56:24-57:2; Trial Tr. 55:4-6.)

C. Plaintiffs’s Perception of CHRW’s Operations

10. The relationship between CHRW and Toms was not formalized in a “master

contract.” (Stipulation of Facts 11 66.) Instead, transactions were agreed upon mostly via e-mail

 

individualized credibility assessment of each witness and assigned the appropriate weight to the
testimony based on the Court’s conclusions With respect to credibility Such determinations are
reflected in the factual findings

6 The parties believe that NRT may no longer be in business (Stipulation of Facts 11 6.)

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messages, the transports were documented in a Bill of Lading, and an Invoice sent to the customer.
(Stipulation of F acts 1111 31-34, 68.)7

ll. Michael Bastholm (“Bastholm”), a customer service representative for Torns,
conducted business with CHRW on behalf of Toms. (Stipulation of Facts 11 68; Trial Tr.
17:10-19:11.)

12. Bastholm’s point of contact at CHRW was Janet Hays, an Account Coordinator.
(Trial Tr. 28:20-29:15.) Hays was assigned to the Toms account dating back to approximately
2008 or 2009 through the date of loss.8 (Hays Dep. Tr. 13:20-14:4.)

13. Bastholm communicated with Hays to schedule shipments and request shipment
quotes (Hays Dep. Tr. 23:6-12.) Hays would arrange transportation from a designated outbound
location (i.e., a Warehouse that stored Toms’s goods) to a destination set by Toms. (Hays Dep. Tr.
20:9-21:16.)

14. Hays and Bastholm never discussed whether CHRW was a “broker” or a “carrier.”
Hays, therefore, never explicitly represented that CHRW was a “brol<er,” nor did she ever state
that CHRW was a “carrier.” (Hays Dep. Tr. 33:24-34:17; 68:4-13; Trial Tr. 30113-19.)

15. CHRW did not produce any evidence that it ever informed Toms that it was acting
only as a broker.

16. Hays indicated to Toms that CHRW could arrange for shipping of its goods, and

Hays would “make it sound like it’s seamless.” (Hays Dep. Tr. 64:16-65:24.)

 

7 Tonis also occasionally communicated telephonically with CHRW’s accounting department
(Hays Dep. Tr. 17:23-18:11.)

3 The Toms account was originated by a different CHRW employee Hays took over the account
When the other employee retired. (Hays Dep. Tr. 43:5-24.)

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17. With respect to the “seamless” nature of the services provided by CHRW, Hays
testified that she meant that when “quoting a customer or speaking to a customer, it’s [CHRW],
it’s not all the little things inside that bubble so it’s basically [the customer is] dealing with
[CHRW].” (Hays Dep. Tr. 75:10-18.)

18. Bastholm’s understanding was that CHRW "took over responsibility of the goods”
because the parties had an agreement for CHRW to transport the goods and Toms paid CHRW for
the transportation (Trial Tr. 40122-41:21.)

19. Bastholm did not know whether CHRW owned equipment for transporting Toms’s
goods (Stipulation of Facts 11 68; Trial Tr. 65:22-66:16.) Bathsolm understood CHRW would be
arranging for the transportation (Trial Tr. 44:9-10) and his position Was that because CHRW
“provided transportation services for [Toms] . . . [he] didn’t need to check if [it] engaged the use
of other companies.” (Id. at 43:23-25.)

20. Although CHRW’s website contains an explanation that CHRW is a non-asset
based transportation provider, the information is maintained in the “lnvestors” section of the
website. (Stipulation of Facts 11 60.) Bastholm never invested in Toms and, therefore, never had
a reason to look at this section of the website. (Trial Tr. 431 16-25.)

D. Shipment, Loss= Bill of Lad`mgz and Invoices

21. ln or about July 2013, Toms hired CHRW to transport the Cargo from non-party
Assured Packing lnc. (“Assured”) in Levittown, Pennsylvania to non-party Coregistics in
Cranbury, New Jersey. (Compl. 11 1.)

22. Unbeknownst to Toms, CHRW subcontracted the physical carriage of the Cargo to

NRT. (Stipulation of Facts 1111 7, 10; Trial Tr. 44:15-20.)

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23. Defendants CHRW and NRT had an agreement at the time that the Cargo Was
shipped, which identified NRT as a carrier and CHRW as a broken (Stipulation of Facts 11 61 ; Trial
EX. D (Agreement for Motor Carrier Contract Services between CHRW and NRT), at 2-11.)
Toms, however, was never made aware of this agreement and the agreement contained a
confidentiality clause.9 (Stipulation of F acts 1111 44, 47.)

l 24. On July 16, 2013, NRT picked up the Cargo from Assured. (Stipulation of Facts
11 ll; Trial Tr. 54:14.) CHRW never had physical possession of the Cargo. (Stipulation of Facts
11 70; Hays Dep. Tr. 57:3-6.)

25. The Cargo was in good order and condition at the time the NRT trucker took
possession at Assured. (Stipulation of Facts 11 12.)

26. On the same day, Assured prepared and issued Straight Bill of Lading No. 68422
(the “Bill of Lading”). (Stipulation of Facts 1111 13, 56; Trial Tr. 54:17-18; 67:9-12; Trial EX. A
(Bill of Lading).) The Bill of Lading covered shipment of the Cargo from Assured in Levittown,
Pennsylvania to Coregistics in Cranbury, New Jersey. (Stipulation of Facts 11 15; Trial Tr.
54:14-21; Trial Ex. A (Bill of Lading).)

27. The Bill of Lading contains two areas that identify the carrier. The printed
language, prepared by Assured, names CHRW as “carrier." The portion of the Bill of Lading
where the carrier acknowledges receipt of the cargo was signed by NRT. (Stipulation of Facts

1111 14, 58; Trial Ex. A (Bill of Lading).)

 

9 CHRW also issued a “Load Confirmation” to NRT with respect to the Cargo, which referred to
CHRW as a “broker.” (Stipulation of Facts 11 49; Trial Tr. 61 :1-7; Hays Dep. Tr. 62:2-12; Trial Ex.
F (C.H. Robinson Contract Addendum and Carrier Load Confirrnation No. 13194339, at 3).) The
“Load Confirrnation,” however, is also considered proprietary and was not provided to Toms.
(Hays Dep. Tr. 74:2-21.)

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28. The “carrier” designation is the only reference to CHRW on the Bill of Lading.
(Trial Ex. A (Bill of Lading).) CHRW never objected to or clarified this designationl (Stipulation
ofFacts 11 8; Pls.’ Post Trial Proposed Findings of Fact 1111 85-87.)

29. The Bill of Lading stated on its face, in capital letters surrounded by asterisks, that
the Cargo “must be transported between 52-68° F (11-18° C).” (Stipulation of Facts 11 16; Trial
EX. A (Bill of Lading).)

30. While in transit, the refrigeration mechanism of the NRT truck carrying the Cargo
malfunctioned and the internal temperature of the trailer reached as high as 820 F. (Stipulation of
F acts 1111 17-18.) The high temperature resulted in physical damage to the Cargo, rendering it unfit
for consumption as food, and resulting in a total loss of the Cargo’s value. (Stipulation of Facts
1111 19, 25-26.)

31. On July 17, 2013, the Cargo was outtumed by NRT in Cranbury, New Jersey_the
Cargo’s destination_in damaged condition. (Stipulation of Facts 1111 21-22, 62; Trial Tr. 21 :9-23.)
Thereafter on the same date, Coregistics completed Non-Conformance Report No. NCR13-006
with respect to the Cargo. (Stipulation of Facts 11 23.)

32. The value of the Cargo lost as a result of the physical damage sustained by the
Cargo during shipment totaled $124,034.31. (Stipulation of Facts 1111 28-30, 55.)

33. On July 19, 2013, Toms submitted a claim to CHRW for the loss (Stipulation of
F acts 11 24; Trial Tr. 30:20-22.) In response, CHRW indicated that it had received the notice and
had ninety days to review the claim. ('l`rial Tr. 30:23-31:5.) CHRW, however, never accepted the
claim or paid for the loss, and did not provide an explanation for the decision. (Trial Tr. 31 :6-15;

Hays Dep. Tr. 33-34.)

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34. On or about September 12, 2013, nearly two months after the delivery of the
damaged Cargo, CHRW issued its invoice to Toms (“the lnvoice”) for the transportation of the
Cargo.

35. The Invoice described the Cargo as “CHR Load: 131943339” and included charges
for “Line Haul” and “Fuel Surcharge.” (Stipulation of Facts 1111 31-32, 36, 40.)

36. The Invoice did not list or include any charges for “brokerage” or broker’s
commissions (Ia’. 11 34.)

37. The Invoice did not indicate that any entity other than CHRW had transported the
Cargo, and did not identify or refer to NRT or any third-party trucker or subcontractor. (Id. at
1111 37, 38; Trial Ex. C (CHRW Invoice).) Toms was still unaware at this time that the loss occurred
in the possession of NRT. (Pls.’ Trial Br. 21.)

38. The Invoice referenced “Terrns and Conditions” but no terms and conditions were
printed on the invoice (Stipulation of Facts 11 41; Trial Ex. C (CHRW Invoice).) Instead, the
Terrns and Conditions were accessible through a website link. Toms was unaware of the Terrns
and Conditions until after the loss The Terms and Conditions do not identify CHRW as a “broker”
or describe CHRW’s services as “brokerage.” (Stipulation of Facts 1111 41-43.) Instead, the Terms
and Conditions state that “[CHRW] shall use reasonable care in its selection of third parties or in
selecting the means, route and procedure to be followed in handling, transportation, clearance and
delivery of the shipment . . . .” (Trial Ex. E (CHRW’s Terrns and Conditions).)

39. Toms submitted a claim to its insurer, Tryg, in the amount of $124,034.31 on
account of the physical damage to the Cargo. (Stipulation of Facts 11 29.) Tryg paid Toms
3115,478, which reflects the full value of the Cargo, less Toms’s deductible under the applicable

policy of insurance (Id. 11 30.)

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40. After this litigation was initiated, CHRW represented to Toms for the first time that
it is only a “broker” and therefore not liable for the loss (Pl.’s Trial Br. 12, ECF No. 35.)
IV. Parties’s Positions

A. Plaintiffs’s Arguments

Plaintiffs argue that Defendant is a carrier for purposes of the Carmack Amendment
because Defendant was authorized to transport Plaintiffs’s cargo and legally bound itself to do so.
Plaintiffs argue that the Bill of Lading and Defendant’s invoice indicate that Defendant acted as a
carrier, and Defendant exercised a degree of control over the transportation of Plaintiffs’s cargo
beyond that of a broker. (Pls.’ Trial Br. 9-18; Pls. Post-Trial Proposed Conclusions of Law 2-11,
ECF No. 47.) Plaintiffs emphasize that CHRW represented itself as “seamless” “one-stop
shipping” with responsibility for transporting Plaintiffs’s Cargo, and never indicated that
Defendant’s only role Was to secure a third party to transport the goodsl (Pls.’ Post-Trial Proposed
Conclusions of Law 2-4.) Plaintiffs also point out that Defendant did not object to the
classification of “carrier” on the Bill of Lading and did not disclose to Toms that NRT had physical
custody of the Cargo at the time of the loss. (Id. at 7.) Finally, Plaintiffs argue that the language
in Defendant’s Terms and Conditions, Which Toms only learned of after the loss, demonstrates
that CHRW exercised significant control over the transport and is a strong indication of Carmack

Amendrnent carrier Status.10

 

10 The terms and conditions state that “[CHRW] shall use reasonable care in its selection of third
parties or in selecting the means route and procedure to be followed in handling iransjnr)rtationj
clearance and delivery ofthe shipment . . . .” (Trial Ex. E (CHRW’s Tenns and Conditions), 11 4

(emphasis added).)

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B. Defendant’s Arguments

Defendant argues that it acted as a broker, which is the only status for which it is registered
with the Department of Transportation. (Def.’s Trial Br. 2, ECF No. 39.) CHRW argues that it
designated itself as a third party logistics provider, never took possession of the Cargo, and never
represented to Plaintiffs that it acts as a carrier. (Ici.) Defendant points out that it does not own
any trucks or equipment for transporting goods and argues that Plaintiffs had knowledge from
prior dealings with CHRW that CHRW is only a broker. (Ia’. at 2-3.) Defendant asserts that
liability should fall only on NRT and relies on the language in its agreement with NRT designating
CHRW as the “broker” and NRT, an independent contractor, as the “carrier.” (Ia'. at 2-4, 6, 17.)
CHRW argues that it “was not under any legal obligation to advise Toms as to the identity of the
carrier that it retained . . . nor [under] any obligation to provide Toms with CHRW’s agreement
with NRT or [] the load confirmation.” (Id. at 10.) Defendant also argues that the listing on the
Bill of Lading is not dispositive because it was prepared by Assured and NRT is the entity that
actually signed the Bill of Lading as the carrier that received and transported the Cargo. (Ici. at 5.)
V. Dwigission - Col_ic_lusions of La_w

The crux of the dispute before the Court is whether Defendant is a “broker” or a “carrier”

under the Carmack Amendment, which determines whether Defendant is liable for the loss. ll The

 

1' The Cannack Amendment “provides an exclusive remedy for the loss of goods transported in
interstate commerce by motor carriers and freight forwarders.” Phoenix Assnrance Co. v. K-Marr
Corp., 977 F. Supp. 319, 324 (D.N.J. 1997). Liability under the Carmack Amendment extends to
any carrier providing transportation or service 49 U.S.C. § l4706(a)(l). The purpose of the
Carrnack Amendment is to “relieve cargo owners of the burden of searching out a particular
negligent carrier from among the often numerous carriers handling an interstate shipment of
goods.” Kawasaki Kisen Kaisha Ltd. v. RegaI-Beloir Coip., 561 U.S. 89, 98 (2010) (internal
quotations omitted).

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parties agree that if Defendant is a “carrier” liability attaches, however, if Defendant is a broker,
Defendant is not liable for the loss12

Under the Cannack Amendment, a “carrier” includes “a motor carrier,” which is defined
as “a person providing motor vehicle transportation for compensation.” 49 U.S.C. § 13102(3),
(14). The term “transportation” includes both the actual movement of property and “services
related to that movement,” including arranging delivery of property 49 U.S.C. § 13102(23). On
the other hand, a “broker” is “a person, other than a motor carrier [that] . . . sells, offers for sale,
negotiates for, or holds itself out by solicitation, advertisement or otherwise as selling, providing,
or arranging for, transportation by motor carrier for compensation.” 49 U.S.C. § 13102(2); see also
49 C.F.R. § 371 .2. lmportantly, a carrier is not a broker for purposes of the Carmack Amendment
because it arranges the transportation of shipments that it is authorized to transport and that it has
legally bound itself to transport 49 C.F.R. § 371.2. ln other words, “[i]f [an entity] accepted
responsibility for ensuring delivery of goods, regardless of who actually transported them, then
[the entity] qualifies as a carrier. If, however, [the entity] merely agreed to locate and hire a third
party to transport the machines, then it was acting as a broker.” Nipponkoa Ins., 2011 WL 671747,
at *7 (quoting CGUlni’l Ins., PLC v. Keysione Lines Corp., No. 02-3751, 2004 WL 1047982, at
* 2 (N.D. Cal. May 57 2004)).

Courts consider various factors to determine whether a party is in fact a “motor carrier” or
a “broker” under the Carmack Amendment. See Pellerron Corp. v. C.H. Robinson Worldwicle,

lnc., No. 09-2365, 2012 WL 3104845, at *3-4 (E.D. Pa. July 31, 2012). This includes: (l) whether

 

12 “[A]n initial common carrier is liable to the shipper for the value of goods lost in interstate

commerce, without regard to the initial carrier’s negligence” under the Cannack Amendment.
Phoenix Assamnce Co., 977 F. Supp. at 324. This provision does not apply to brokers See
generally 49 U.S.C. § l4706(d).

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the entity promised to personally perform the transport and therefore legally bound itself to
transport; (2) the type of services the entity offers; (3) whether the entity held itself out to the
public as the actual transporter of goods; and (4) whether the entity’s only role was to secure a
third party to ship plaintiff’s goods lcl. To that end, the inquiry into whether Defendant is a
“carrier” or “broker” is inherently fact intensive See Nipponkoa lns., 2011 WL 671747; AIG
Europe (Netherlancls), 765 F. Supp. 2d at 482-85.

Here, the Court finds that Defendant is a canier for purposes of the Carmack Amendment.
Although Defendant, in actuality, acts as a third-party logistics provider with only a broker’s
license (and no carrier license) issued by the U.S. Department of Transportation, (Def.’s Mot. for
Summ. J. 2), registration status is not dispositive See Plzoenix Assnrance Co., 977 F. Supp. 319,
326 (D.N.J. 1997). The key inquiry is whether Defendant held itself out as a broker or a carrier
See Lul)ermens Mnt. Cas. Co. v. GES Exposilion Servs., lnc., 303 F. Supp. 2d 920, 921 (N.D. Ill.
2003) (status as a broker or carrier is determined “by how [the company] holds itself out to the
world and its relationship to the shipper.”); see also Pelletron Corp., 2012 WL
3104845; Nipponkoa lns., 2011 WL 671747, at *4-5.

In this case, in light of Defendant’s actions and the weight of the evidence, the Court
concludes that CHRW held itself out to Toms as a carrier. Specifically7 CHRW represented itself
as an entity that provided a “seamless service,” without any indication of the involvement of third-
parties; CHRW was listed as the carrier on the Bill of Lading that was provided to Toms, and never
clarified that this was incorrect; and the only documents that identified CHRW as a “broker” were
confidential and proprietary agreements with third-parties and not disclosed to Toms (Findings

l of Fact, Section lIl, supra, 1111 16-17, 23, 28.) The Court also finds it significant that, despite a

relationship spanning several years, CHRW could not produce a single document or

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communication where it identified itself as a broker to Toms. (ld. 11 15.) ln fact, even after Toms
submitted a claim to CHRW for the loss, CHRW did not respond that it was only a broker. Instead,
it indicated that it would review the claim within a specified time (ld. 11 33.) CHRW did not even
provide its “broker” status as an explanation to Toms for denying payment on the claim. 13 (lcl.) In
fact, CHRW did not inform Toms of its “broker” status until after this litigation was initiated (lal.
at 37.)

Further supporting the finding of CHRW as a carrier, the Invoice for the shipment at issue
characterized the Cargo as a “CHR Load” and charged Toms for “line haul” and “fuel surcharge,”
which are charges consistent with an entity that acts as a carrier.14 (la’. at 35.) The Invoice does
not contain any reference to brokerage commissions brokerage fees, or the third-party entity that
transported the goods (lal at 36.) In addition, CHRW’s own Terms and Conditions provide that
CHRW “shall use reasonable care in its selection of third parties or in selecting the means route
and procedure to be followed in handling transportation clearance and delivery of shipment[.]”
(Trial Ex. E. (CHRW’s Terrns and Conditions).) This language suggests that Defendant’s actions
were not limited to brokering transport but included transporting the goods and/or exerting control

over drivers

 

nothing suggested that the defendant’s client believed the defendant had accepted responsibility to
ship the load itself pursuant to its motor carrier authority. la’.

14 Compare Nn)ponkoa lns., 2011 WL 671747, at *4-5 (finding defendant’s charges for line haul
transportation without any mention of brokerage commissions would support a finding that the
defendant acted as a carrier) with CGU lnt’l lns, 2004 WL 1047982, at *2 (finding that the
defendant’s charge of brokerage commissions evidenced that the defendant merely offered to
arrange for transportation).

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F or all of these reasons, in the context of CHRW’s relationship with Torns, Defendant’s
actions lead to the conclusion that it is a “carrier” for purposes of the Cannack Amendment.
VI. Conclusion

For the foregoing reasons, the Court concludes that Defendant acted as a carrier under the
Cannack Amendment with respect to the July 2013 transportation of` the Cargo, An order

consistent with this Memorandum Opinion will be entered.

MI'CHAEL A. SHIl'P' '
UNITED SrA'rr.s Drsrch'r JUDGE

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Dated: Novemberd:i_tl, 2017

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